                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:21-cv-674-MOC

BRIAN D. GREEN,                                        )
                                                       )
       Plaintiff, pro se,                              )
                                                       )
v.                                                     )              ORDER
                                                       )
SMITH, DEBNAM, NARRON, DRAKE,                          )
SAINTSIGN & MYERS, LLP, et al.,                        )
                                                       )
       Defendants.                                     )

       THIS MATTER is before the Court on its own motion following the filing of

Defendants’ Motion for Judgment on the Pleadings, (Doc. No. 12).

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the Court advises

Plaintiff, who is proceeding pro se, that Plaintiff has a right to respond to Defendants’ motion.1

The Court also advises Plaintiff that failure to respond may result in Defendants being granted

the relief Defendants seek—that is, the dismissal of the Complaint.

       IT IS, THEREFORE, ORDERED that:

       1.      Plaintiff shall respond to the pending Motion for Judgment on the Pleadings,



1
 The Fourth Circuit did not hold in Roseboro that such notice is required for motions to dismiss
or motions for judgment on the pleadings. Rather, the Fourth Circuit’s discussion in Roseboro
regarding notice was directed to summary judgment motions. See Roseboro v. Garrison, 528
F.2d 309, 310 (4th Cir. 1975) (“We agree with the plaintiff, however, that there is another side to
the coin which requires that the plaintiff be advised of his right to file counter-affidavits or other
responsive material and alerted to the fact that his failure to so respond might result in the entry
of summary judgment against him.”); see also Norman v. Taylor, 25 F.3d 1259, 1261 (4th Cir.
1994) (“In Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), this circuit held that pro se
plaintiffs must be advised that their failure to file responsive material when a defendant moves
for summary judgment may well result in entry of summary judgment against them.”).
Nevertheless, courts routinely issue Roseboro notices for motions to dismiss and motions for
judgment on the pleadings, and the Court does so here.
                                                    1



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                            (Doc. No. 12), within 14 days of service of this Order. Failure to file a timely

                            response will likely lead to the dismissal of this lawsuit.

                       IT IS SO ORDERED.

Signed: February 22, 2022




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